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          EXHIBIT A
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                                                      ID #:182911

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           17             CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
           18
                    MASIMO CORPORATION,                            CASE NO. 8:20-cv-00048-JVS (JDEx)
           19       a Delaware corporation; and
                    CERCACOR LABORATORIES, INC.,                   APPLE’S [PROPOSED] SUR-REPLY
           20       a Delaware corporation,                        REGARDING PLAINTIFFS’ REPLY
                                                                   IN SUPPORT OF MOTION TO
           21                            Plaintiffs,               MODIFY PREVIOUS RULINGS ON
                                                                   MOTIONS IN LIMINE (DKT. 2143)
           22             v.
           23       APPLE INC.,
                    a California corporation,                     Pre-Trial Conference: Oct. 28, 2024
           24                                                     Trial: Nov. 5, 2024
                                         Defendant.
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Wilmer Cutler
Pickering Hale                 APPLE’S [PROPOSED] SUR-REPLY RE: PLAINTIFFS’ REPLY ISO MOT. TO MODIFY MIL RULINGS
and Dorr LLP
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                                                   ID #:182912

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                                                                            CASE NO. 8:20-cv-00048-JVS (JDEX)
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             1                Last week, this Court ordered a bench trial based on its finding that Plaintiffs had
             2      “abandon[ed] all legal claims.” Dkt. 2133 at 1. This Court’s ruling was indisputably
             3      predicated on Plaintiffs waiver of, among other things, their right to appeal this Court’s
             4      prior decision striking their lost profits theory. This is because Apple raised that issue
             5      as an impediment to a bench trial, see Dkt. 2100 at 3-4, Plaintiffs’ lead counsel indicated
             6      Plaintiffs would voluntarily waive their appellate rights regarding lost profits if doing so
             7      secured a bench trial, Dkt. 2143-6 at 32, and this Court granted Plaintiffs’ request for a
             8      bench trial without addressing lost profits, Dkt. 2133.
             9                Plaintiffs’ first filing after the bench trial order now attempts to claw back that
           10       waiver based on the unsupported assertion that it was contingent on Apple’s immediate
           11       and express agreement. Dkt. 2143 at 13. But Plaintiffs made the offer of waiver to this
           12       Court, not to Apple: “[I]f it seals the deal if we can just resolve this, we would forego
           13       that appeal if the Court thought that was necessary to resolve this issue. We would offer
           14       that in order to complete this whole dispute[.]” Dkt. 2143-6 at 32 (emphases added).
           15       This Court in turn noted, that “[i]f that occurred” (i.e., if the Court relied on waiver), “it
           16       seems to me the [bench trial] issue would turn exclusively on what does Rule 38(d) mean
           17       and whether judicial estoppel applies.” Id. This Court’s subsequent ruling is consistent
           18       with what this Court contemplated at the September 9, 2024 hearing: It does not address
           19       the lost profits issue at all (because Plaintiffs waived it) and instead only resolved
           20       Apple’s FRCP 38(d) and judicial estoppel arguments. Dkt. 2133.
           21                 Having secured the benefit they sought (a bench trial) based on waiver of their
           22       lost profits appeal, Plaintiffs cannot now “play[] fast and loose with the courts” by
           23       changing course. See New Hampshire v. Maine, 532 U.S. 742, 750-751 (2001). Either
           24       Plaintiffs have waived their right to appeal the lost profits ruling (and are estopped from
           25       changing position), or this Court’s bench trial ruling cannot stand because it was based
           26       on the erroneous premise that there are no legal issues remaining in this case. If Plaintiffs
           27       are permitted to go back on their word here, then a jury trial is required. See Dkt. 2100
           28       at 3-4.

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and Dorr LLP
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             1      Dated: October 14, 2024               Respectfully submitted,
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                         APPLE’S [PROPOSED] SUR-REPLY RE: PLAINTIFFS’ REPLY ISO MOT. TO MODIFY MIL RULINGS
Pickering Hale                                                             CASE NO. 8:20-cv-00048-JVS (JDEX)
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             1                             CERTIFICATE OF COMPLIANCE
             2            The undersigned, counsel of record for Defendant Apple Inc. certifies that this
             3      brief contains 387 words, which [choose one]:
             4            X complies with the word limit of L.R. 11-6.1
             5               complies with the word limit set by court order dated [date].
             6
             7      Dated: October 14, 2024               Respectfully submitted,
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